Case 3:24-cv-02311-TSH   Document 57-13   Filed 10/08/24   Page 1 of 4




           EXHIBIT 13
                  Case 3:24-cv-02311-TSH                     Document 57-13                Filed 10/08/24            Page 2 of 4




From:                                       Ivar Satero (AIR) <Ivar.Satero@flysfo.com>
Sent:                                       Saturday, March 30, 2024 5:33 PM
To:                                         SFO-Senior and Management Staff
Subject:                                    Re: [EXTERNAL] Follow-up



There's been much activity this morning regarding this, and we've got a lot of support in our fight against this. We
intend on taking a similarly aggressive position opposing this proposal as we did with Stockton a few years back when
they tried something similar.

Get Outlook for iOS

From: Ivar Satero (AIR) <Ivar.Satero@flysfo.com>
Sent: Saturday, March 30, 2024 10:16:03 AM
To: SFO-Senior and Management Staff <SFOSeniorandManagementStaff@flysfo.com>
Subject: Fwd: [EXTERNAL] Follow-up

Fyi

Get Outlook for iOS

From: Danny Wan <dwan@portoakland.com>
Sent: Friday, March 29, 2024 4:29:35 PM
To: Ivar Satero (AIR) <Ivar.Satero@flysfo.com>
Cc: Craig Simon <csimon@portoakland.com>
Subject: RE: [EXTERNAL] Follow-up

Attached is the public agenda report for the 4/11/2024 Board of Port Commissioners item we discussed today. Thought
I'd just send it to you.



Danny Wan
Executive Director
Port of Oakland — Everyone's Port
530 Water Street
Oakland, CA 94607
desk: 510-627-1212
www.portofoakland.com

 maw PORT OF OAKLAND
            Seaport. Airport. Evoryona's Port.


Everyone's Port
The Port of Oakland oversees the Oakland Seaport, Oakland International Airport, and nearly 20 miles of waterfront including Jack London Square. Port
and related operations generate nearly 100,000 middle-class jobs. The Port and its partners operate the most convenient airport in the Bay Area, deliver
consumer goods to store shelves, provide waterfront visitor attractions and open space and generate community benefits while reducing environmental
impacts. Connect with the Port of Oakland and Oakland International Airport through Facebook, or with the Port on Twitter, YouTube, and at
www.portofoakland.com.




                                                                            1




                                                                                                                                  CCSF (PRA)-001506
                  Case 3:24-cv-02311-TSH                     Document 57-13                Filed 10/08/24            Page 3 of 4



From: Ivar Satero (AIR) <Ivar.Satero@flysfo.com>
Sent: Friday, March 29, 2024 2:37 PM
To: Danny Wan <dwan@portoakland.com>; Craig Simon <csimon@portoakland.com>
Subject: RE: [EXTERNAL] Follow-up

Sounds good Danny, much appreciated.

Ivar



From: Danny Wan <dwan@portoakland.com>
Sent: Friday, March 29, 2024 2:35 PM
To: Ivar Satero (AIR) <Ivar.Satero@flysfo.com>; Craig Simon <csimon@portoakland.com>
Subject: RE: [EXTERNAL] Follow-up


    This message is from outside the City email system. Do not open links or attachments from untrusted sources.




Thanks for the follow up. I will gather up the analysis and surveys and send it over to you. Give me a couple of days to
get them together. As we discussed, let's continue discussing any question or thoughts you may have.



Danny Wan
Executive Director
Port of Oakland — Everyone's Port
530 Water Street
Oakland, CA 94607
desk: 510-627-1212
www.portofoakland.com

 frril,     PORT OF OAKLAND
            Seaport. Airport. Everyone's Port.


Everyone's Port
The Port of Oakland oversees the Oakland Seaport, Oakland International Airport, and nearly 20 miles of waterfront including Jack London Square. Port
and related operations generate nearly 100,000 middle-class jobs. The Port and its partners operate the most convenient airport in the Bay Area, deliver
consumer goods to store shelves, provide waterfront visitor attractions and open space and generate community benefits while reducing environmental
impacts. Connect with the Port of Oakland and Oakland International Airport through Facebook, or with the Port on Twitter, YouTube, and at
www.portofoakland.com.




From: Ivar Satero (AIR) <Ivar.Satero@flysfo.com>
Sent: Friday, March 29, 2024 2:22 PM
To: Danny Wan <dwan@portoakland.com>; Craig Simon <csimon@portoakland.com>
Subject: [EXTERNAL] Follow-up




                                                                            2




                                                                                                                                  CCSF (PRA)-001507
              Case 3:24-cv-02311-TSH            Document 57-13           Filed 10/08/24    Page 4 of 4

   The sender of this message is external to the Port of Oakland. Do not open links or attachments from untrusted
   sources.


Danny/Craig, thanks for the call today.

Can you share any analysis, surveys, etc. that supported the renaming?

Thx,
Ivar




Ivar C. Satero (he/him/his)
Airport Director
San Francisco International Airport I P.O. Box 8097 I San Francisco, CA 94128
Office: 650-821-5004
Email: ivar.satero@flysfo.com

Assistant: Chris Arrigale
Direct: 650-821-5004 I Email: chris.arrigale@flysfo.com




                                                           3




                                                                                                    CCSF (PRA)-001508
